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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



MITAVION WILLIAMS               :
                                :
      Plaintiff,                :
v.                              :                        1:21-CV-3015-AT-CCB
                                       CIVIL ACTION NO. _________
                                :
VICTOR HILL                     :
                                :
      Defendant.                :


                                    COMPLAINT

      Comes now plaintiff and respectfully shows;

                                          1.

      This is an action under 42 U.S.C. § 1983 for violation of plaintiff's due process

right to be free of excessive punishment and excessive use of force as well as

violations of the Georgia Constitution's Abuse provision found in Art. 1 See 1 Para

XVII and for state tortious conduct.

                                          2.

      This Court has jurisdiction under U.S.C. § 1343 and supplemental jurisdiction

under 28 U.S.C. § 1367.




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                                          3.

      Defendant is a resident of the Northern District of Georgia, and is subject to

the jurisdiction of the Court. He may be personally served with the complaint and

summons at the Clayton County Sheriff's Office, 9157 Tara Blvd in Jonesboro, Ga.

                                          4.

      Plaintiff is presently a pretrial detainee at the Clayton County Jail.

                                          5.

      Plaintiff has exhausted all applicable administrative remedies.

                                          6.

      The actions of defendant were undertaken under color of state law.

                                          7.

      Defendant Hill has a policy and practice of using excessive force on inmates

housed at the county jail through the use of an inmate restraint chair.

                                          8.

      The Clayton County Sheriff's Office ("CCSO") is the law enforcement

agency responsible for staffing, maintaining, and running the jail.

                                          9.

      Defendant VICTOR HILL is the Clayton County Sheriff and is in charge of

the CCSO and the administration of the jail.


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                                         10.

        As a certified law enforcement officer, Defendant Hill has regularly received

training, including use-of-force training that instructed force may not be used to

punish a subject.

                                         11.

        The CCSO's "Inmate Restraint Chair" policy ("the policy"), which had been

approved by Defendant Hill, stated that "a restraint chair may be used by Security

staff to provide a safe containment of an inmate exhibiting violent or uncontrollable

behavior and to prevent self-injury, injury to others or property damage when other

control techniques are not effective."

                                         12.

        Consistent with the Fourteenth Amendment's Due Process Clause, the policy

emphasized that use of a restraint chair "will never be authorized as a form of

punishment."

                                         13.

        On December 26, 2019, Plaintiff was a pretrial detainee at the Clayton County

Jail.




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                                           14.

      He had been arrested for a number of charges including breaking into the

property of a sheriff's deputy.

                                           15.

      He was arrested without incident, he was unarmed, not under the influence of

drugs and offered no resistance on or about December 26, 2019 when he was placed

on the restraint chair for more than four hours, not only restrained with straps from

the restraint chair, but handcuffed behind his back.

                                        [16.]

      On April 19, 2021, Defendant was indicted by the United States of America

for repeatedly using the inmate restraint chair to inflict punishment on certain

inmates. The case has not come to trial.

                                        [17.]

      A true and correct copy of the indictment is attached as Exhibit A.

                                        [18.]

      One of those victims, Glenn Howell filed his own suit against defendant. A

true and correct copy of such suit is attached as Exhibit B.




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                                           19.

        Even though defendant has been indicted and suspended from office, the use

of the restraint chair is still threatened against inmates presently incarcerated at the

jail.

                                     FIRST COUNT

                                           20.

        Paragraphs 1-19 are realleged as though set out and in full.

                                          [21.]

        As a direct and proximate result of defendant's actions, plaintiff suffered

damages in the amount of $ 250,000.

                                          [22.]

        Defendant's actions were malicious, oppressive and/or deliberately

indifferent to plaintiff's rights.

                                          [23.]

        Plaintiff is entitled to punitive damages in the amount of $ 500,000.

                                          [24.]

        Plaintiff is entitled to reasonable attorney fees under U.S.C. § 1988.




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                                 SECOND COUNT

                                         [25.]

      Paragraph 1-24 are realleged as though fully set out.

                                         [26.]

      Defendant acted with the conscious and malicious intent to cause plaintiff

injury.

                                         [27.]

      Defendant violated plaintiff's right to be free from abuse under the Georgia

Constitution.

                                         [28.]

      Plaintiff is entitled to general damages in the amount of $ 250,000 which he

suffered as a proximate result of defendant's actions.

                                         [29.]

      All of defendant's actions complained of in the complaint showed actual

malice, willful conduct, wantonness, oppression or the entire want of care which

raises the presumption of conscious indifference to consequences. His acts were

taken to harm plaintiff and deprive him of his state constitutional rights.

                                         [30.]

      Plaintiff is entitled to punitive damages of $ 500,000.


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                                         [31.]

       Plaintiff is entitled to reasonable attorney fees because of defendant's

intentional tort.

                                   THIRD COUNT

                                         [32.]

       Paragraphs 26-31 are realleged as though fully set out.

                                         [33.]

       Defendant's conduct as outlined above was outrageous, is deplorable and

goes well beyond that tolerated in a civilized society.

                                         [34.]

       Plaintiff has suffered emotional distress and other injuries including, but not

limited to, fear, anger, humiliation, embarrassment, worry, and helplessness as a

result of defendant's outrageous conduct. He has suffered permanent scarring.

WHEREFORE Plaintiff prays:

1) For damages in the amount of $250,000;

2) Punitive damages in the amount of $500,000;

3) Jury Trial;

4) Attorney fees; and

5) Such other and further relief as is just and proper.


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                                              Respectfully submitted,

                                              /s/ Ralph Goldberg
Goldberg & Cuvillier, P.C.                    Ralph Goldberg
3469 Lawrenceville Hwy., Suite 102            Georgia Bar No. 299475
Tucker, Ga. 30084-6919                        Attorney for Plaintiff
(770) 670-7343
(770) 670-7344 (FAX)
attorneygoldberg@hotmail.com




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